
717 S.E.2d 378 (2011)
STATE of North Carolina
v.
Walton GILLIKIN, Sr.
No. 236P11.
Supreme Court of North Carolina.
August 25, 2011.
William D. Spence, Kinston, for Gillikin, Walton, Sr.
LeAnn Martin, Assistant Attorney General, for State of North Carolina.
Scott Thomas, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 13th of June 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 25th of August 2011."
